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                                                            the Judiciary
                                                       Rechtban k Amsterdam




                Mr. A.W. van der Veen                                                                                             Private law department
                P.O. Box 75505
                1070 AM AMSTERDAM                                                                                                 team summary

                                                                                                                                  proceedings

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         date   Sept. 20, 2023                                                                                                    1080 BN Amsterdam
contact phone   Mrs. J.A.L. Bartels-Wapperom
                                                                                                                                  t (088) 361 7000
      number    088-3611408
       email     kortgedingciviel.rb-amsrri^rechtsnraak.nl                                                                        www.rechtspraak.nl
our reference   C/13/738449 / KG ZA 23/772 regarding
                Ultra-D Coop. UA cs/Ultra-D Coop UA cs                                                                            When replying, please mention
                                                                                                                                  the date and our reference.
 your                                                                                                                             Would you like to cover only
  reference     various                                                                                                           one case in your letter.
  attachme      statemen
  nt(s)         t
  subject



                Dear Sir, Madam,

                In the above-mentioned case, the court has issued a ruling, which you find herewith. I
                will also send it to you by mail.


                Sincerely,

                the gr he




                Your personal data and, if applicable, those of your client will be processed in a court registration system to the extent necessary
                for the purpose of due process
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      AMSTERDAM COURT

      Private law department, preliminary injunction judge civil



      Case number / role number: C/13/738449 / KG ZA 23-772 VVV/EB

      Summary judgment of Sept. 20, 2023

      in the matter of

      1.       the cooperative
      ULTRA-D COOPERATIVE U.A.,
      based in Amsterdam, with its office in Eindhoven,
      2.       the private limited liability company
      STREAM TV INTERNATIONAL E.G,
      based in Amsterdam, with its office in Eindhoven,
      3.       the private limited liability company
      SEECUBIC B.V.,
      based in Eindhoven,
      4.       the legal person under foreign law
      SEECUBIC INC,
      based in Wilmington, Delaware, United States of America,
      5.       the legal person under foreign law
      HAWK INVESTMENT HOLDINGS LI NIITE D,
      based at St. Peter Port, Grternsey, Channel Islands,
      6.       the legal entity incorporated under
      foreign law SLS HOLDINGS VI LLC,
      based in Wilmington, Delaware, United States of America,
      7.       SHADRON LEE STASTNEY,
      residing in Marlboro, United States of America,
      plaintiffs by identical subpoenas dated August 31, 2023, attorney at
      law Mr. E.R. Meerdink of Amsterdam,

      at

      1.      the cooperative
      ULTRA-D COOPERATIVE U.A.,
      based in Amsterdam, with its office in Eindhoven,
      2.      the private limited liability company
      STREAM TV INTERNATIONAL B.V.,
      based in Amsterdam, with its office in Eindhoven,
      3.      the private limited liability company
      SEECUBIC B.V.,
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      based in Eindhoven,
      lawyers Mr. M.H.C. Sinninghe Damsté and Mr. E. Di Pangrazio in Amsterdam,

      and

      4.      MATHU RAJAN,
      residing in Bensalem, Pennsylvania, United States of America,
      Advocates A.W. van der Veen, A.R.T. Kroon, T.J.A. Zuijderland and K. van
      Boekel of Amsterdam,
      defendants.


      The parties will hereinafter be referred to as Hawk et al., Rajan and the
      Companies. Separately, plaintiffs l to 3, also defendants 1 to 3 Ultra-D, Stream
      TV International BV and SeeCubic BV will be referred to separately. The
      remaining plaintiffs will be separately named SeeCubic Inc., Hawk, SLS and
      Stastney.

      1.      The procedure

      At the hearing on September 13, 2023, Hawk et al. presented the claims as
      described in the summons and the bill of claim. Rajan and the Dutch companies
      put forward defenses, Rajan partly by means of a pre-filed statement of reply. All
      parties submitted exhibits and explained their positions by means of pleading notes,
      which have been added to the file.

      Present at the hearing on the side of Hawk c.s. were S.L. Stastney, assisted by
      Ms. Wezenbeek and Ms. Hof(English interpreters), P.C. Theune (Head of
      Technology of SeeCitbic BV), L. Luijks (employee of SeeCubic BV),
      Mr. M.K. Tiemensma (attorney for SeeCubic BV), Mr. Meerdink and his
      office colleagues Mr. R.G. Kloppenburg, Mr. S. Vlassak and Mr. D. van der
      Nat.

      Present on the Companies' side via video link was T.J.H. Park (appointed as a
      director by - in short - Rajan), assisted by M. Steur (English interpreter), with Mr.
      Sinninghe Damsté and Mr. Di Pangrazio.

      Present on Rajan's side were Rajan and C. Robertson (executive vice president of
      Stream TV Networks, Inc. and former CFO of SeeCubic TV Inc.), both via video
      link and assisted by M. Steur (English interpreter), Mr. Van der Veen, Mr. Kroon,
      Mr. Zuijderland and Mr. Van Boekel in Amsterdam.
      Judgment was set for today.
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      2.      The facts

      2.1.     Rajan is one of the founders of the Stream group. Within the Stream
      group the research and development takes place for the development of (among
      others) screens on which 3D images can be shown without the need for 3D glasses,
      the so-called Ultra-D technology. The patents are in Ultra-D, its subsidiaries Stream
      TV International BV and SeeCubic BV are operating companies (hereafter
      together: the Companies).

      2.2.    The interests in the Companies are held through a Curapaose limited
      partnership and two intermediate holding companies by TechnoVative Media Inc.
      ("TechnoVative"), whose shares are again held by Stream TV Networks, Inc.

      2.3.     Hawk and SLS (hereinafter referred to as the Financiers) together loaned
      tens of millions of US Dollars and other currencies to Stream and received security
      interests against it including on the shares in TechnoVative.

      2.4.    From March 2020, a dispute arose between the Financiers and Rajan as
      the Financiers sought to enforce security interests based on default under the
      financings.

      2.5.     In May 2020, the so-called Omnibus Agreement was concluded between
      Stream and the group of Financiers. Under that agreement, Stream's debts would
      be settled in exchange for the transfer of its shares in TechnoVative to SeeCubic
      Inc. This special purpose company is held by SLS, Hawk and other parties that
      financed Stream. Stream would still receive shares in SeeCubic Inc.

      2.6.    In December 2020, Rajan was removed as a director of the Companies by
      the Financiers and replaced by Stastney.

      2.7.    There have been and are several court proceedings in the United States
      concerning the Lenders' enforcement of security interests. In one of these, Rajan
      challenged the Omnibus Agreement. The Omnibus Agreement was initially upheld
      in two instances, but on June 16, 2022
      overturned by the Delaware Supreme Court.

      2.8.    On October 3, 2022, Stastney was removed as a director of the
      Companies and Rajan was reappointed as a director. The parties mutually dispute
      the validity of those resignations and appointments.

      2.9.     A so-called Section 225 proceeding is now pending in the United
      States, in which the Delaware Court must determine whether Hawk may
      exercise its security interests and whether, as a result of exercising those
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      security interests will gain control of TechnoVative and thus be able to validly
      appoint the directors of TechnoVative and the Companies. As its primary defense
      in those proceedings, Stream argues that Hawk's claims have been converted into
      shares and therefore Hawk is no longer a secured creditor.

      2.10. On October 20, 2022, a so-called "status quo order" for TechnoVative
      was issued by way of interim ruling in the Section 225 proceedings, maintaining
      the status quo as it then stood. This stipulated, among other things, that during the
      Section 225 proceedings (i) a so-called Receiver (an independent officer) will be
      appointed, who will acquire control of TechnoVative and (ii) TechnoVative may
      only be managed in the ordinary course of business, (iii) no changes may be made
      in the management of TechnoVative's subsidiaries and (iv) TechnoVative may not
      file for bankruptcy.

      2.11. On March 15, 2023, Stream filed for bankruptcy of itself and
      TechnoVative (the so-called Chapter 11 proceedings). As a result, the pending
      proceedings were suspended and Rajan regained control as a director in Stream.

      2.12. On October 5, 2022, Rajan asked various parties to surrender assets -
      more specifically, an expensive bonding machine that was (had been) in use by
      SeeCiibic BV - to Stream, and on October 10, 2022, Rajan informed the
      management team of the Companies that all their assets belong to Stream.

      2.13. On l4 October 2022, the local management of the Companies alerted
      Rajan of their acute financial distress and concern about the payment of salaries
      in that month. This request for attention, in the absence of response to
      Oct. 18, 2022 repeated.

      2.14. On February 21, 2023, Rembrandt 3D Holding. Ltd (hereafter Rembrandt)
      issued a subpoena in the United States against Hawk et al., TechnoVative and
      SeeCubic Inc. seeking the cessation of Rembrandt's use of intellectual property
      rights. Briefly, Rembrandt is the legal successor to 3DFusion Corp. which
      company previously partnered with three engineers who then went on to work for
      the Stream group, including B. Barenbrug, about whom more below. Rembrandt
      had previously, in 2017, filed a lawsuit against Stream and the three engineers for
      intellectual property infringement. Those proceedings had culminated in a
      settlement (the non-binding term sheet) on April 9, 2019. In it, Stream
      acknowledged that technology from Rembrandt was incorporated into its Ultra-D
      technology, agreed to pay Rembrandt USD
      1 million in a lump sum, USD 20,000.00 monthly for the use of the technology
      and two million warrants (options) of a total value of USD 3 million.
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      In addition, it would undertake to supply Ultra-D products at cost to Rembrandt's
      distribution business. In exchange, Rembrandt provided Stream with a perpetual
      license of its technology. Stastley, then CFO and vice chairman of Stream TV's
      board, was involved in the negotiation and approval of this settlement. On May
      23, 2021, Stream and Rembrandt entered into the settlement agreement (VSO)
      under which Rembrandt granted Stream a license to use its technology. That VSO
      includes the following provisions, among others:

      14. Sub-license            Either Party may sublicense their rights to other parties for the
                                 purpose of having products distributed by the Party.

      22. Binding Effect         This Agreement shall be binding on, and shall be enforceable
                                 against, and shall inure to the benefit of the Parties to this
                                 Agreement and their respective past and present officers,
                                 directors, affiliates, member firms, subsidiaries, parents,
                                 successors, shareholders, members, partners, general partners,
                                 limited partners, principals, participating principals, managing
                                 members or other agents, management personnel, attorneys,
                                 servants, employees, representatives of any other kind (and any
                                 officers, director, members or shareholders of any of the
                                 foregoing which are not natural persons), spouses, estates,
                                 executors, estate administrators, heirs, and assigns. (...)"

      The parties in this interlocutory appeal differ as to whether the Companies are
      also permitted to use Rembrandt's intellectual property under Article 22 under the
      license granted by Rembrandt, or whether such use is permitted under Article 14
      only when products are distribted by Stream; they interpret the VSO differently
      on that point. Infringement proceedings in the United States are ongoing.

      2.15. On March 29, 2023, Rajan, by his own admission acting as a director of
      both Stream and SeeCubic BV, asked the lessor of the storage facility in China
      where the bonding mcichine mentioned in 2.12 was located, to surrender that
      machine to him.

      2.16. When Rajan rejoined the Companies as their director in March 2023,
      local management asked for a solution to the plight of these three companies'
      financial position.

      2.17. On April 3, 2023, on behalf of the management of the Companies, a
      letter was sent to Rajan asking him to diiify whether he intended to provide
      financing for the known debts of the Companies. In the meantime, management
      was reluctant to cooperate with the
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      remittance of assets such as a bonding machine. Meanwhile, Rajan pressured
      associates of the Partnerships to hand over the bonding machine to him.

      2.18. In mid-April 2023, the Companies management asked Rajan how
      provision would be made for payment of salaries in that month, but received no
      response, but did receive requests to cooperate in issuing the bonding machine.

      2.19. On April 15, 2023, Rajan sent a message to an employee of SeeCubic BV
      saying that Stream had won in "court" the day before and that the judge demanded
      that the bonding machine be surrendered to Stream immediately, when in fact the
      judge at the hearing the previous day had said that no one should start transferring
      assets or nicking technology.

      2.20. In May 2023, during discussions with associates of the Partnerships,
      Rajan said that financing would be arranged, but he did not get specific and
      financing failed to materialize.

      2.21. On May 26, 2023, Stream and SeeCubic Inc were urgently requested on
      behalf of the Companies' staff to find a solution to the financing partly in view of
      the salary payments to the employees in June 2023. In response, SeeCubic Inc
      made an offer of increase in the existing financing. No solution was offered by
      Rajan.

      2.22. Meanwhile, Hawk et al. had already commenced preliminary relief
      proceedings before this Court. By judgment of June 29, 2023 (hereinafter: the
      Judgment), the Court in preliminary relief proceedings - in brief - suspended Rajan
      as director A of the Companies and appointed Mr. J.R. Berkenbosch (attorney at
      law at Jones Day in Amsterdam) as director A of those companies. It is stipulated
      (in r.o. 5.5 of the Judgment) that these provisions apply until the sale and transfer
      of the shares in TechnoVative has taken place on the basis of either a security
      right of SLS or Hawk or as a result of the U.S. bankruptcy proceedings, and
      (indirectly) by new owners at least one director has been appointed at each of the
      Companies, or if as a result of the U.S. bankruptcy proceedings the shares in
      TechnoVative are retained by Stream and the security rights on the shares in
      TechnoVative have expired. This judgment further prohibited Ultra-D from
      suspending, dismissing and appointing directors while Berkenbosch's appointment
      is in effect.

      2.23. After the Judgment was rendered, the Companies wanted to come to
      completion on a project in which SeeCiibic BV would collaborate with Hyundai
      Mobis (hereinafter: HM). That project had been underway for a long time and
      involved significant revenues. The cooperation required that SeeCubic
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      BV would send a prototype to HM. The agreement was ready to be signed, but it did not
      come to that.

      2.24. By e-mail dated July 25, 2023, Stream's U.S. attorney in the Chapter l l
      proceedings addressed the independent director, asking him not to enter into an
      agreement with HM or with any other party if it violated third-party rights. He sent
      that e-mail in cc to Rembrandt's attorney, among others.

      2.25. Two days later, Rembrandt turned to the independent director with a
      warning not to violate its intellectual property rights, later followed by a threat of
      liability from Jones Day.

      2.26. On August 9, 2023, the independent director requested the
      preliminary injunction court to remove him from office and appoint another
      independent director. The request included the following passages:
      "(...)
      5. After finalizing the Protocol (to arrive at an at arms length working method), we entered
      into discussions with SCI on the ongoing projects. For these projects, work had started
      some time ago (under the reign of the U.S. receiver) but no signed contractual framework
      (yet). The most advanced negotiations are ongoing with a Hyundai entity. SeeCubic BV
      employees have been working since December 2022 on a prototype for this Hyundai
      entity which is now ready in Eindhoven. This would receive a significant payment upon
      entering into the contract. In anticipation of the contract, the prototype has not yet been
      sent to the Hyundai entity. The signing of this contract was presented to SCI and Stream,
      but is now encountering great resistance from Stream and Rembrandt.
      6. Rembrandt is a third party of whom I (and my office when I sought internal approval
      (for his appointment as an independent director, vzr.) was not aware that there was a
      dispute between Rembrandt and the Companies with that. Rembrandt now claims that the
      technology it developed is used in the products of SeeCubic B.V. In 2021, Stream is said to
      have signed a settlement agreement with Rembrandt whereby Stream's group is allowed
      to use this technology for a fee. In contrast, SeeCubic B.V. (and prior to signing the
      settlement agreement also Stream) has always disputed that it uses this technology.
      Complying with Rembrandt's and Stream's request not t o work on SCI projects would
      significantly affect SeeCubic B.V.'s operational management. Indeed, SeeCubic B.V. would
      then not be allowed to work in any way on SCI's projects, while those are the only projects
      that have been worked on in the past year, and while Stream has not submitted any
      projects as yet.
      7. SCI, in turn, has indicated that it will no longer provide financing if its projects are not
      worked on. As a result, no projects can be implemented, no expenses of my office have
      been paid so far and we cannot meet other essential payments of the Companies in the
      short term. We have requested SCI several times to pay the costs of my office and the
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      Companies to pay, and more specifically the requested retainer (...), but so far without
      success.
      8.        Meanwhile, this dispute has been brought to the attention of Jones Day's U.S.
      management by Rembrandt and Stream, and Rembrandt has threatened to hold Jones
      Day liable for an amount of USD 1.2-1.5 billion if certain projects (which are necessary to
      obtain financing) are continued and threatened with actions against individual employees
      of SeeCubic B.V. (...)"

      2.27. On Aug. 11, 2023, the preliminary injunction judge removed the
      independent director from office without appointing another.

      2.28. On Aug. 20, 2023, Park was appointed by Rajan as a director of Ultra-
      D. On Aug. 21, 2023, Park was also appointed as a director of SeeCubic BV and
      Stream BV.

      2.29. A written statement by P. Theune (Head of Technology of SeeCubic BV
      and B. Barenbrug (Principal Engineer) dated Sept. 12, 2023 states, among other
      things, the following about Rembrandt's alleged infringement of intellectual property
      rights:
      "(...) We, as management of SCBV (SeeCubic BV, vzr.) state that we are not using
      techniques from Rembrandt 3D. Below the arguments are listed:
            1. In 2011 SCBV started as a subsidiary of STVN (Stream, vzr.). Only starting
               in 2017, Rembrandt 3D (...) alleged that our US parent TechnoVative infringed
               their patents. This was dismissed in US court. The patent analysis performed
               by the SCBV team showed that these patents already have prior art.
            2. I (Patric Theune) have worked at both Philips 3D Solutions and started in the
               early phase of SCBV (2013) as engineer and for me there is no indication of
               change in the technology in between that time, except for the natural (already
               foreseen) improvement that we already had in both the technology and use of
               it.
            3. (...)
            4. Rembrandt 3D does not (or should not) have access to SCBV internal information,
               and even STVN doesn't have any detailed information since December 2020, since
               they have effectively not operated SCBV since then, so they cannot know what
               is being used or not, and in which customer offerings. We do not understand the
               accusation of using trade secrets without more details. (...)"

      3.         The dispute

      3.1.        Hawk et al. claim, after increasing their claim, in summary:
             (a) During the period of 5.5. of the Judgment:
                 primarily
                 i.      To appoint an independent third party to be designated by the
                         Provisional Court as Director A of the Companies;
                 alternatively
                 ii.     To appoint Stastney as Director A of the Companies;
             (b) suspend the resolutions appointing Park as a director A of the
                 Companies, and to suspend Park as a director,
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             (c) Rajan to area:
                     a. To disclose to Stastney what (legal) acts have been performed by
                         or on behalf of Rajan that directly or indirectly affect the
                         Companies; and
                     b. on the instruction of Stastney or the director to be appointed by
                         the xoorvisions judge to cooperate in undoing all such (legal) acts,
                     under penalty of forfeiture;
             (d) prohibit Ultra-D from suspending, dismissing and appointing directors in
                 SeeCubic BV and Stream TV and disposing of, encumbering or
                 encumbering the shares in SeeCubic BV or Stream TV               during the
                 term of 5.5. of the Judgment;
             (e) directing the Companies to register Stastney or any other independent
                 director appointed by the Interim Injunction Judge in the Commercial
                 Register to the extent necessary and to record any other necessary
                 changes therein; and
             (f) Order Rajan to pay the litigation costs and the post-litigation expenses, plus
                 interest.

      3.2.       Rajan and the Companies are defending.

      4.         The views of parties

      4.1.     In short, Hawk et al.'s position is that Rajan is doing everything possible
      to frustrate the Financiers' exercise of their security rights. They see Berkenbosch's
      departure as a result of yet another trick from Rajan's magic box. They argue that
      Stream, in coordination with Rembrandt, fabricated an IP claim for the sole
      purpose of attracting the relationship with HM to itself. Indeed, Stream was willing
      to do business with HM if it itself became HM's contracting party.

      4.2.     There is no reason to intervene in the governance of the
      Companies, according to Rajan, any more than there was in the previous
      summary proceedings.
      In summary, his defense is as follows. The right of appointment for the management
      of the Companies belongs to (ultimately) Stream; Hawk et al. are no more than
      putative creditors at the American level. Using the power of appointment, Park was
      appointed to avoid a board vacuum following the departure of the independent
      director. There is no question of wrongful withdrawals from the Companies.
      Stream is only trying to regain control of the Companies it had lost through the
      coifp of Hawk et al (the Omnibus Agreement). VSI was not formed for the sole
      purpose of housing assets of the Companies at the expense of Stream's creditors.
      VSI is an investor of Stream and will provide it with the necessary financial
      resources to help it put its affairs in order.
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      business within the Companies. Rajan disputes that the Rembrandt claim is fabricated.

      4.3.     The Companies argue that Park was appointed in accordance with the
      legal and statutory requirements and that he is aware that he will have to focus on
      the interests of the Companies in his role as a director. According to them, there is
      no reason to suppose that he will not do so. He does not have a long history with
      Stream, so he has a "fresh perspective. There is no basis in objective law to appoint
      an independent director in summary proceedings at the request of a funder.
      Moreover, the appointment of a new independent director will not resolve the issue.

      4.4.     On the parties' contentions, to the extent relevant, further details are given below
      entered.

      5.      The review

      5.1.     The case has an international character because several of the plaintiffs are
      domiciled in the United States. Because the Companies are domiciled in the
      Netherlands, the Dutch court has international jurisdiction to hear the case. Rajan
      is not domiciled in the Netherlands, but the claims against him cannot be
      separated from those against the Companies.

      5.2.     As long as the battle for control of TechnoVative continues, the status quo
      within the Companies should be maintained as much as possible. This is also the
      purpose of the Status Quo order entered by the US court (see section 2.10). The
      Companies must be prevented from collapsing or having their assets taken outside
      the Stream group (and thus Hawk et al.'s recourse).

      5.3.      Rajan has argued at length that the power to appoint the Companies'
      directors lies with Stream. However, that power of appointment was breached
      with the previous judgment. That decision, with the restraint offered in the
      context of a proper division of labor between the Undememployment Chamber
      and the Provisional Judge, was thought necessary. With that same restraint, the
      granting of a provision is now again deemed necessary There is a dire situation
      that still calls for immediate intervention. The struggle for control of the operating
      companies continues unabated and the company (a start-up) is suffering as a result.
      The Companies are on the verge of bankruptcy due to the struggle over control.
      The funds they needlg to pay basic expenses such as rent and payroll are failing
      to materialize. And yet the Companies' operations must be viable - why else would
      they be fought over so fiercely and have so much money invested in them? This
      immediately gives the urgency of Hawk et al.
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      5.4.    Appointing a new independent director does not seem to make sense for
      the time being, as he or she is expected to run into the same issues and massive
      claim for damages from Rembrandt. The primary claim will therefore be rejected.
      5.5.    The only remaining possibility then is that one of the parties (in the person
      of Park or Stastney) temporarily manages the Companies. This should then be
      the party with whom there is the greatest chance of maintaining the status quo.

      5.6.      The Companies face the following problems:
      (i) a lack of liquidity, (ii) the Rembrandt issue, and (iii) withdrawals from
      assets.

          (i)     Cash

      5.7.      Both Hawk et al. and Rajan argue that they can provide such financing
      directly, but are willing to do so only if they themselves control the companies.
      For the time being, however, only Hawk et al. are likely to be able to do so. The
      financing of the Companies in the past period has been provided by Hawk c.s. on
      the basis of a Note approved by the receiver (see 2.10). The situation is different
      with Rajan. He claims that VSI will provide the necessary financing, but no
      document has been produced showing a binding agreement to that effect, or even
      that VSI is capable of financing. That would have been obvious at this stage, also
      in light of the earlier summary proceedings, in which the question of financing
      played a central role, and the assertions of Hawk et al. that VSI is not capable of
      financing. An offer to still provide information about VSI's role and capabilities as a
      financier, made at the hearing at dtipliek, was made too late. For the time being, it
      is rtit assumed that Hawk c.s. will be able and willing to provide the necessary
      financing and Rajan will not.

      5.8.     It did appear that the independent director has not yet been paid for his
      services. At the hearing, Hawk et al. agreed to pay the invoices for the work of (the
      office of) the independent director, insofar as they are in line with his
      assignment.

         (ii)    The Lvestie Rembrcindt

      5.9.     The parties differ on whether the Partnerships infringe Rembrandt's
      intellectual property rights. Hawk et al. dispute that there is infringement and this
      has been confirmed by Theune when asked. As Head of Technology, his
      testimony weighs heavily. He has stated that while Rembrandt's technology (the
      "borders" and liveliness" functions) used to be used in SeeCubic BV's technology,
      they were taken out in 2020. There was also no building on Rembrandt's
      technology, according to Theune. The functions of Rembrandt are not vital,
      according to Theune
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      for the technology offered by SeeCubic BV. Nor does it only provide
      technology for TVs, Theune said.

      5.10. Against this statement, the assertion of Rembrandt's attorney that all Ultra
      D TVs to this day have the two aforementioned functions (production 17 to
      summons, its e-mail of July 27, 2023, the last sentence of the second paragraph
      on page 2) does not carry sufficient weight. After all, Stream/Rembrandt knows
      nothing about developments within the Companies since 2020 and the current
      state of affairs; that is precisely what it complains about. And Stastney, involved
      in negotiations with Rembrandt on behalf of Stream in 2017, also sees no threat of
      i.e. infringement. Hawk et al. argue that as a director, Stastney will be able to
      continue the Companies' operations without violating Rembrandt's rights. He is
      willing to take on the role of a director of the Companies and - if appointed - will
      have to weigh for himself in that role whether the risk of liability is acceptable.

      5.1 l. If Stream gains control of the Companies (for the time being), the
      income from the deal with HM will flow to Stream instead of to SeeCubic BV
      Companies. Indeed, Stream makes it a condition of entering into that deal that it
      itself becomes HM's contracting party, because it believes that is the only way to
      exploit the technology used by the Companies in accordance with the settlement
      agreement with Rembrandt. This is due to her interpretation of the settlement
      agreement and an op
      August 14, 2023 agreed supplement, the existence of which was not disputed and
      which provided (in brief) that only Stream would be entitled to use Rembrandt's
      license and provided that no sub-licensing of the Rembrandt technology should
      ever be granted to the Companies. The Companies would receive from Stream a
      fee to be determined.
      And because SeeCubic BV uses the same technology in all applications it
      offers, future agreements would also be made in Stream's name. The risk of i.e.
      infringement of Rembrandt's rights does not occur in that scenario, but that
      course of action is contrary to the intent to maintain the status quo.

      5.12. In preliminary judgment, the status quo is better preserved if Stastney is
      allowed to run the Companies for the time being.

         (iii)   Withdrawals ann the Companies

      5.1.     According to Hawk et al. Rajan seeks to unlawfully divest the Companies
      of assets, including the bonding machine. According to Rajan, all assets belong to
      Stream and there are no wrongful withdrawals. That all the assets knit and
      developed by the Companies belong to Stream, the indirect parent company, is
      not obvious. Whatever that may be, it is not in dispute that the bonding machine
      was in use by SeeCubic BV, irrespective of the question
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      who owns them. The same applies to other assets used and developed by the
      Companies. It should remain so for the time being. The question of ownership is
      less important at this time. What matters is that the Companies remain able to
      conduct their business.

      5.14. When Rajan gains control of the Companies, there is a threat that assets
      will be taken out of the control of SeeCubic BV. Indeed, Rajan has insisted on
      handing over the machine and other assets to him. He wants to transfer the assets
      to VSI, a company that is a Stream shareholder in which Rajan has a 70% interest
      and control. According to Rajan, VSI was formed during the period when Hawk
      et al. controlled TechnoVative and its subsidiaries, for the purpose of supporting
      Stream in its fight against Hawk et al. and to finance its reorganization plans.
      According to Rajan, VSI has made several investments in Stream. In addition,
      according to Rajan, VSI will act as a distributor for Stream and will support
      Stream in electronics product development and translation of computer software
      and hardware code, designing chips for use in products and supporting Stream's
      customers in integrating those chips into end-user products.

      5.15. If the Companies' assets are transferred to VSI or the business is
      restructured in such a way that the Companies cannot operate without the support
      of VSI, the current situation is not maintained. On the contrary then value is
      extracted from the Companies. Rajan has also given no good reason for
      transferring the assets to VSI now. He wants to transfer the assets to a "clean"
      entity that is in quiet waters and not involved in legal disputes. However, there is
      no need to do that now and it would also be very detrimental to the recourse of
      Hawk et al. As creditors, they have an interest in keeping the assets within the
      group.

      5.16. To the extent that Hawk et al. might seek enforcement of its security
      interests in any of the United States proceedings, that does not deprive it of its
      right to seek injunctive relief in this interlocutory appeal to prevent the transfer
      of assets to VSI.

      Intentions Rcrjan

      5.17. Added to this is the fact that Stream, under Rajan's direction, entered into
      a supplement to the agreement with Rembrandt on August 14, 2023, which
      (assuming the Companies use technology belonging to Rembrandt) would mean
      that the Companies could not operate other than for the benefit of distribution by
      Stream without a demonstration of the need for that restriction. Apparently,
      Rajan still wants to attract the operations of the Companies to himself and has no
      intention of maintaining the current situation for the time being.
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      5.18. In the light of all Rajan's attempts to attract the assets and activities to
      Stream and/or VSI, his disinterest in the (financing of) the Dutch Companies
      and his refusal to want to take the protocol drawn up by the independent director
      as a starting point, it requires too much naivety to expect that the director Park
      appointed by him will take as a starting point to maintain the status quo as much
      as possible. The mere assurance by his attorney that he will conform to the
      standards of Dutch (corporate) law is too little for that. Mr. Park's unilateral
      appointment was also not in line with the purport of the Judgment.

      Conclusion

      5.19. The situation that there is a risk of assets being withdrawn from the
      Companies at Rajan's instigation as found in the Judgment remains unchanged.
      The facts then underlying that judgment are substantially unchanged.

      5.20. Based on the foregoing, an order under which Park will be suspended as a
      director Stastney is provisionally appointed as a director of the Companies is
      appropriate and necessary. In the circumstances now prevailing, his appointment is
      the only option available to maintain the status quo as far as possible until such
      time as it will ultimately be determined in the proceedings pending in the United
      States who will obtain control of the Companies. That means that until then, or until
      a court decides otherwise, Stastney will be appointed director of those entities, to
      the exclusion of Park and Rajan. The claims made thereon will be granted. It will be
      stipulated that Stastney must comply with the protocol established by the
      independent director. In view of edge number 62 of the summons, which states that
      the court may impose conditions on the governance by Stastney, the subsidiary
      claim under c (ii) of the petition will also be understood in that sense. At the hearing,
      Hawk et al. expressed their view that they would have no problem if Stastney was
      bound by that protocol.

      5.21. The provisions to be made regarding the management of the Companies
      will apply for the same period as stipulated in the Judgment, namely:

          (a) in the event of the sale of the shares in TechnoVative either on the basis of
               a security interest of SLS or Hawk, or as a result of U.S. bankruptcy
               proceedings: until the new owners of the shares in TechnoVative have
               appointed at least one director at each of the Companies; or
          (b) until the U.S. bankruptcy proceedings determined that the shares in
              TechnoVative remained the property of Stream and the security interests
              in those shares expired;
      or until a judge decides otherwise.
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      5.22. The motion to enjoin the Companies from enrolling Stastney, to the
      extent necessary, in the Commercial Register, as well as any other necessary
      amendments, will be denied. Stastney can arrange that registration itself using this
      judgment, and "any other necessary amendments" is too indefinite to qualify for
      award.

      5.23. The claim to order Rajan to (i) provide insight into all actions taken by
      or on behalf of him that directly or indirectly affect the Companies and (ii)
      cooperate in the undoing of those actions will be dismissed for the same reasons.

      5.24. As the (mainly) unsuccessful party, Rajan will be ordered to pay the
      costs of the proceedings. The costs on the part of Hawk et al. will be estimated
      at:
      - subpoena             C        106,73
      - court fee                     676,00
      - salary lawyer
      Total                       l.079.00 C
                                     1.861,73

      5.25.   Subsequent costs and statutory interest will also be awarded.

      6.      The decision

      The preliminary injunction judge

      6.1.    appoints Stastney as director A of Ultra-D Coöperatief U.A., Stream
      TV International B.V. and SeeCubic B.V., for the period as set forth under
      5.21, whereby Stastney must dog himself to the protocol prepared by Mr.
      Berkenbosch and submitted as production 9 to the summons,

      6.2.    Suspends T.J.H. Park as bestittirder A of the companies listed
      under 6.1. for the period mentioned under 5.21,

      6.3.     prohibits Ultra-D Coöperatief U.A., during the period mentioned under
      5.21 suspend, dismiss or appoint directors in SeeCubic B.V. and Stream TV
      International B.V., or perform acts that have the effect of disposing of or
      encumbering the shares in SeeCubic B.V. or Stream TV International B.V,

      6.4.     Order Rajan to pay the costs of the proceedings, assessed on the part of
      Hawk et al. to date at £1,861.73, plus statutory interest thereon from fourteen days
      after the date of judgment until the day of payment in full,

      6.5.     order Rajan to pay the costs incurred by Hawk et al. following this
      judgment, estimated at C 173.00 for attorney's fees, to be increased by £90.00 and
      the costs of the
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      serving notice in the event that service of this judgment is made, to be increased
      by the statutory interest thereon from fourteen days after service of this
      judgment until the day of full payment,

      6.6.    Declares this judgment provisionally enforceable to this extent,

      6.7.    Dismisses the more or less claimed.

      This judgment was rendered by Mr. T.H. van Voorst Vader, interim relief
      judge, assisted by Mr. E. van Bennekom, registrar, and publicly pronounced on
      September 20, 2023.




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